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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11   JOSE GONZALEZ and ROGER                  Case No. 8:20-cv-00142-JLS-ADS
       DIAZ,
  12
                    Plaintiffs,
  13
             vs.
  14
       CITY OF NEWPORT BEACH;                   JUDGMENT
  15   NEWPORT BEACH POLICE
       DEPARTMENT; Officer J.
  16   MOROUSE; Officer J. KRESGE;
       Officer D. LOPEZ; Officer T.
  17   WILSON, Individually, and in their
       capacity as City of Newport Beach
  18   Police Officers,
  19                Defendants.
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  21         Pursuant to the Court’s Order entered on October 13, 2021 [Doc. No. 32]:

  22         IT IS ORDERED AND ADJUDGED that the Motion for Summary Judgment filed
  23   by the City of Newport Beach and the individual defendants (Doc. 24) is hereby granted.
  24         IT IS FURTHER ORDERED AND ADJUDGED that Judgment is entered in favor of
  25   Defendants and that the above-captioned action is dismissed with prejudice.
  26   DATED: October 25, 2021
  27                                     _________________________________________
                                         HON. JOSEPHINE L. STATON
  28                                     UNITED STATES DISTRICT JUDGE
